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            IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
                      DALLAS DIVISION


AMERICAN ALLIANCE
FOR EQUAL RIGHTS,

                   Plaintiff,

                   v.
                                               Case No. 3:23-cv-01877
PERKINS COIE LLP,

                  Defendant.



                JOINT MOTION TO EXTEND
       PRELIMINARY INJUNCTION BRIEFING SCHEDULE
           AND RESPONSIVE PLEADING DEADLINE

      Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure,

Plaintiff American Alliance for Equal Rights and Defendant Perkins Coie

LLP (collectively, “the “Parties”) jointly request that the Court modify the

below deadlines as follows:

   • Extend the deadline for Defendant to file its opposition to Plaintiff’s

      motion for a preliminary injunction, Dkt. 7, to October 9, 2023; and

   • Extend the deadline for Defendant to answer or otherwise respond to

      the Complaint to 21 days after the final resolution of the motion for

      a preliminary injunction, including interlocutory appeal, if any.

      In support of this request, the Parties state the following:


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      1.    Plaintiff filed its Complaint, Dkt. 1, on August 22, 2023.

      2.    Plaintiff filed its Motion for Preliminary Injunction, Dkt. 7, on

August 28, 2023. Accordingly, Defendant’s opposition to Plaintiff’s motion

is currently due on September 18, 2023, see Local Civ. R. 7.1(e). Plaintiff’s

reply is currently due on October 2, 2023, see Local Civ. R. 7.1(f).

      3.    Defendant agreed to waive service of the Complaint and

motion. Plaintiff provided Defendant with a waiver of service form on

September 11, 2023.

      4.    Defendant has only recently engaged counsel in this matter and

requires additional time to finalize its opposition to Plaintiff’s motion for a

preliminary injunction.

      5.    Defendant will begin accepting applications for the 2024 1L

program on November 15, 2023.

      6.    Defendant will cease accepting applications for the 2024 1L

program on January 7, 2024.

      7.    Defendant will select fellows on a rolling basis, with the goal of

having the class finalized by no later than the first week of March 2024.

      8.    Defendant projects that the 2024 1L program will run

approximately from May 20, 2024 to July 26, 2024.

      9.    The Parties therefore respectfully submit that good cause exists

for the Court to extend: (i) the deadline for Defendant to file its opposition

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to Plaintiff’s motion for a preliminary injunction to October 9, 2023; and

(ii) the deadline for Defendant to answer or otherwise respond to Plaintiff’s

Complaint to 21 days after the final resolution of the motion for a

preliminary injunction, including interlocutory appeal, if any.

      10.    The Parties certify that this is their first request for an

extension of time for this purpose, this extension is not requested for the

purpose of undue delay, and this extension will not prejudice the conduct of

the litigation.




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Date: September 13, 2023       Respectfully submitted,

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                       CERTIFICATE OF SERVICE

      I hereby certify that on September 13, 2023, I electronically filed the

foregoing document with the Clerk of Court using the Court’s CM/ECF

system, which will automatically send email notification of such filing to all

counsel of record.


                                           /s/ Jared D. Eisenberg
                                           Jared D. Eisenberg




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